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                               UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF INDIANA
                                    HAMMOND DIVISION


 LINDA MORGAN,
                                                       CIVIL COMPLAINT
              Plaintiff,

 v.                                                    CASE NO. 2:18-cv-00370

 MERCANTILE ADJUSTMENT
 BUREAU, LLC,                                          DEMAND FOR JURY TRIAL

              Defendant.


                                           COMPLAINT

         NOW comes LINDA MORGAN (“Plaintiff”), by and through her attorneys, Sulaiman Law

Group, Ltd. (“Sulaiman”), complaining as to the conduct of MERCANTILE ADJUSTMENT

BUREAU, LLC (“Defendant”), as follows:

                                      NATURE OF THE ACTION

      1. Plaintiff brings this action for damages pursuant to the Fair Debt Collection Practices Act

(“FDCPA”) under 15 U.S.C. §1692 et seq., and the Telephone Consumer Protection Act under 47

U.S.C. §227 et seq., for Defendant’s unlawful conduct.

                                     JURISDICTION AND VENUE

      2. This action arises under and is brought pursuant to the FDCPA and TCPA. Subject matter

jurisdiction is conferred upon this Court by 15 U.S.C. § 1692, 47 U.S.C. §227, 28 U.S.C. §§1331

and 1337, as the action arises under the laws of the United States.

      3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Plaintiff resides in the

Northern District of Indiana and a substantial portion of the events or omissions giving rise to the

claims occurred within the Northern District of Indiana.

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                                                      PARTIES

      4. Plaintiff is a consumer over 18 years-of-age residing in Hebron, Indiana, which falls within

the Northern District of Indiana.

      5. Plaintiff is a natural “person,” as defined by 47 U.S.C. §153(39).

      6. Defendant promotes that it is “an accounts receivable management firm…”1 Defendant is

a limited liability company organized under the laws of the state of New York with its principal

place of business at 165 Lawrence Bell Drive, Suite 100, Williamsville, NY 14221.

      7. Defendant is a “person” as defined by 47 U.S.C. §153(39).

      8. Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers at all

times relevant to the instant action.


                                   FACTS SUPPORTING CAUSES OF ACTION

      9. Purportedly, plaintiff incurred debt as a result of nonpayment of purchased goods and/or

services (“subject debt”).

      10. Around Summer of 2018, Plaintiff began receiving calls to her cellular phone, (219) XXX-

1224, from Defendant.

      11. At all times relevant to the instant action, Plaintiff was the sole operator of the cellular

phone ending in -1224. Plaintiff is and always has been financially responsible for the cellular

phone and its services.

      12. Defendant primarily uses the phone number (866) 816-2891 when contacting Plaintiff’s

cellular phone, but upon information and belief, Defendant has used other phone numbers to

contact Plaintiff’s cellular phone.


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    https://mercantilesolutions.com/about-mercantile-adjustment-bureau/

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    13. Upon information and belief, the above referenced phone number is regularly utilized by

Defendant during its debt collection activities.

    14. When Plaintiff answers calls from Defendant, Plaintiff experiences a noticeable pause,

lasting several seconds in length, before being connected to a live representative.

    15. Upon speaking with Defendant’s representatives, Plaintiff was informed that Defendant

was seeking to collect the subject debt.

    16. Shortly after Defendant began calling Plaintiff, Plaintiff explained her inability to pay the

subject debt and demanded that it stop calling her cellular phone.

    17. Notwithstanding this information, Defendant continued placing repeated phone calls to

Plaintiff’s cellular phone attempting to collect upon the subject debt.

    18. Frustrated by Defendant’s refusal to understand her position, Plaintiff demanded that

Defendant stop calling her cellular phone.

    19. In spite of Plaintiff’s demand, Defendant has continued to call her cellular phone up

through the filing of this action.

    20. Plaintiff has received not less than 25 phone calls from Defendant since asking it to stop

calling.

    21. Frustrated over Defendant’s conduct, Plaintiff spoke with Sulaiman regarding her rights,

resulting in expenses.

    22. Plaintiff has been unfairly and unnecessarily harassed by Defendant's actions.

    23. Plaintiff has suffered concrete harm as a result of Defendant’s actions, including but not

limited to, invasion of privacy, aggravation that accompanies excessive collection telephone calls,

emotional distress, increased risk of personal injury resulting from the distraction caused by the

never-ending calls, increased usage of her telephone services, loss of cellular phone capacity,



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diminished cellular phone functionality, decreased battery life on her cellular phone, and

diminished space for data storage on her cellular phone.


                COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

      24. Plaintiff repeats and realleges paragraphs 1 through 23 as though fully set forth herein.

      25. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3) of the FDCPA.

      26. Defendant is a “debt collector” as defined by §1692a(6) of the FDCPA, because it regularly

uses the mail and/or the telephone to collect, or attempt to collect, delinquent consumer accounts.

      27. Defendant is engaged in the business of collecting or attempting to collect, directly or

indirectly, defaulted debts owed or due or asserted to be owed or due to others. Defendant identifies

itself as a debt collector and has been a member of the ACA, an association of debt collectors,

since 1962.2

      28. The subject debt is a “debt” as defined by FDCPA §1692a(5) as it arises out of a transaction

due or asserted to be owed or due to another for personal, family, or household purposes.

           a.      Violations of the FDCPA §1692c(a)(1) and §1692d

      29. The FDCPA, pursuant to 15 U.S.C. §1692d, prohibits a debt collector from engaging “in

any conduct the natural consequence of which is to harass, oppress, or abuse any person in

connection with the collection of a debt.” §1692d(5) further prohibits, “causing a telephone to

ring or engaging any person in telephone conversation repeatedly or continuously with intent to

annoy, abuse, or harass any person at the called number.”

      30. Defendant violated §1692c(a)(1), d and d(5) when it repeatedly called Plaintiff after being

notified to stop. This behavior of systematically calling Plaintiff’s phone on a systematic basis in




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    http://www.acainternational.org/search#memberdirectory

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spite of her demands was harassing and abusive. The frequency and volume of calls shows that

Defendant willfully ignored Plaintiff’s pleas with the goal of annoying and harassing her.

   31. Defendant was notified by Plaintiff that its calls were not welcomed. As such, Defendant

knew that its conduct was inconvenient and harassing to Plaintiff.

         b. Violations of the FDCPA § 1692e

   32. The FDCPA, pursuant to 15 U.S.C. §1692e, prohibits a debt collector from using “any

false, deceptive, or misleading representation or means in connection with the collection of any

debt.”

   33. In addition, this section enumerates specific violations, such as:

            “The use of any false representation or deceptive means to collect or attempt to
            collect any debt or to obtain information concerning a consumer.” 15 U.S.C.
            §1692e(10).

   34. Furthermore, Defendant violated §1692e and e(10) when it used deceptive means to collect

and/or attempt to collect the subject debt. In spite of the fact that Plaintiff demanded that it stop

contacting her, Defendant continued to contact her. Instead of putting an end to this harassing

behavior, Defendant placed repeated calls to Plaintiff’s cellular phone in a deceptive attempt to

force her to answer its calls and ultimately make a payment. Through its conduct, Defendant

misleadingly represented to Plaintiff that it had the legal ability to contact her after she explained

that she could not pay.

         c. Violations of FDCPA § 1692f

   35. The FDCPA, pursuant to 15 U.S.C. §1692f, prohibits a debt collector from using “unfair

or unconscionable means to collect or attempt to collect any debt.”

   36. Defendant violated §1692f when it unfairly and unconscionably attempted to collect on a

debt by repeatedly calling Plaintiff after being notified to stop. Attempting to coerce Plaintiff into



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payment by placing voluminous phone calls without her permission is unfair and unconscionable

behavior. These means employed by Defendant only served to worry and confuse Plaintiff.

   37. As pled in paragraphs 20 through 23, Plaintiff has been harmed and suffered damages as a

result of Defendant’s illegal actions.

   WHEREFORE, LINDA MORGAN, respectfully requests that this Honorable Court enter

judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned bodies of law;

   b. Awarding Plaintiff statutory damages of $1,000.00 as provided under 15 U.S.C.
      §1692k(a)(2)(A);

   c. Awarding Plaintiff actual damages, in an amount to be determined at trial, as provided
      under 15 U.S.C. §1692k(a)(1);

   d. Awarding Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C.
      §1692k(a)(3);

   e. Enjoining Defendant from further contacting Plaintiff; and

   f. Awarding any other relief as this Honorable Court deems just and appropriate.

          COUNT II – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

   38. Plaintiff repeats and realleges paragraphs 1 through 37 as though fully set forth herein.

   39. The TCPA, pursuant to 47 U.S.C. § 227(b)(1)(iii), prohibits calling persons on their

cellular phone using an automatic telephone dialing system (“ATDS”) without their consent. The

TCPA, under 47 U.S.C. § 227(a)(1), defines an ATDS as “equipment which has the capacity...to

store or produce telephone numbers to be called, using a random or sequential number generator;

and to dial such numbers.”

   40. Defendant used an ATDS in connection with its communications directed towards

Plaintiff’s cellular phone. The noticeable pause, lasting several second in length, that Plaintiff



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experiences prior to being connected with a live representative is instructive that an ATDS is being

utilized to generate the phone calls. Additionally, the nature and frequency of Defendant’s

contacts, including multiple calls per day from a multitude of different phone numbers, further

suggests Defendant is using an ATDS when calling Plaintiff.

   41. Defendant violated the TCPA by placing at least 25 phone calls to Plaintiff’s cellular

phone using an ATDS without her consent. Any consent that Plaintiff may have given to the

originator of the consumer debt, which Defendant will likely assert transferred down, was

specifically revoked by Plaintiff’s demands that Defendant cease contacting her.

   42. The calls placed by Defendant to Plaintiff were regarding collection activity and not for

emergency purposes as defined by the TCPA under 47 U.S.C. §227(b)(1)(A)(i).

   43. Under the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(B), Defendant is liable to Plaintiff for

at least $500.00 per call. Moreover, Defendant’s willful and knowing violations of the TCPA

should trigger this Honorable Court’s ability to triple the damages to which Plaintiff is otherwise

entitled to under 47 U.S.C. § 227(b)(3)(C).


   WHEREFORE, Plaintiff, LINDA MORGAN, respectfully requests that this Honorable Court

enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Awarding Plaintiff damages of at least $500.00 per phone call and treble damages
      pursuant to 47 U.S.C. §§ 227(b)(3)(B)&(C);

   c. Awarding Plaintiff costs and reasonable attorney fees; and

   d. Awarding any other relief as this Honorable Court deems just and appropriate.


Dated: September 28, 2018                            Respectfully submitted,

s/ Nathan C. Volheim                                  s/Taxiarchis Hatzidimitriadis

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